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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  UNITED STATES OF AMERICA,                           §
                                                      §
                                                      §
  v.                                                  § CASE NUMBER 4:19-CR-00264-SDJ
                                                      §
                                                      §
  GINA CORWIN (9),                                    §
                                                      §

              FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                   BEFORE THE UNITED STATES MAGISTRATE JUDGE

         By order of the District Court, this matter is referred to the undersigned United States

  Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

  statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

  28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

         On July 7, 2020, this case came before the undersigned United States Magistrate Judge for

  entry of a guilty plea by Defendant, Gina Corwin, to Count One of the Information. Count One

  alleges sometime in or around 2018, and continuously thereafter up to an including on or

  about November 22, 2019, in the Eastern District of Texas, Defendant, Gina Corwin, did

  knowingly and intentionally commit the offense of Conspiracy to Distribute and Possess with

  Intent to Distribute Methamphetamine, in violation of 21 U.S.C. § 846.

         Defendant entered a plea of guilty to Count One of the Information into the record at the

  hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule of

  Criminal Procedure 11, the undersigned finds:

         a.      Defendant, after consultation with her attorney, has knowingly, freely, and

  voluntarily consented to the administration of the guilty plea in this case by a United States

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  Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

  sentence by the District Court;

           b.       Defendant and the Government have entered into a plea agreement which was

  disclosed and addressed in open court, entered into the record, and placed under seal. Defendant

  verified that she understood the terms of the plea agreement, and acknowledged that it was her

  signature on the plea agreement. To the extent the plea agreement contains recommendations and

  requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the Court advises Defendant that she has no

  right to withdraw the plea if the Court does not follow the particular recommendations or requests.

  To the extent that any or all of the terms of the plea agreement are pursuant to Rule 11(c)(1)(A) or

  (C), the undersigned advises Defendant that she will have the opportunity to withdraw her plea of

  guilty should the Court not follow those particular terms of the plea agreement; 1

           c.       Defendant is fully competent and capable of entering an informed plea, Defendant

  is aware of the nature of the charges and the consequences of the plea, and the plea of guilty is

  made freely, knowingly, and voluntarily. Upon addressing Defendant personally in open court, the

  undersigned determines that Defendant’s plea is knowing and voluntary and did not result from



  1. “(3) Judicial Consideration of a Plea Agreement.
  (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
  agreement, reject it, or defer a decision until the court has reviewed the presentence report.
  (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
  that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
  (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
  extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
  in the judgment.
  (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
  Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
  camera):
  (A) inform the parties that the court rejects the plea agreement;
  (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
  an opportunity to withdraw the plea; and
  (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
  toward the defendant than the plea agreement contemplated.” FED. R. CRIM. P. 11(c)(3)-(5).

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  force, threats, or promises (other than the promises set forth in the plea agreement). See FED. R.

  CRIM. P. 11(b)(2); and

         d.      Defendant’s knowing and voluntary plea is supported by an independent factual

  basis establishing each of the essential elements of the offense and Defendant realizes that her

  conduct falls within the definition of the crime charged under 21 U.S.C. § 846.

                                    STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, the Government presented a factual basis.

  See Factual Basis and Stipulation. In support, the Government would prove that Defendant is one

  and the same person charged in the Information and that the events described in the Information

  occurred in the Eastern District of Texas. The Government would also have proven, beyond a

  reasonable doubt, each and every essential element of the offense as alleged in Count One of the

  Information through the testimony of witnesses, including expert witnesses, and admissible

  exhibits. In support of Defendant’s plea, the undersigned incorporates the proffer of evidence

  described in detail in the factual basis and stipulation, filed in support of the plea agreement.

         Defendant, Gina Corwin, agreed with and stipulated to the evidence presented in the factual

  basis. Counsel for Defendant and the Government attested to Defendant’s competency and

  capability to enter an informed plea of guilty. Defendant agreed with the evidence presented by

  the Government and personally testified that she was entering her guilty plea knowingly, freely,

  and voluntarily.

                                 RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

  Judge that the District Court accept the Guilty Plea of Defendant, which the undersigned

  determines to be supported by an independent factual basis establishing each of the essential

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  elements of the offense charged in Count One of the Information. It is also recommended that the

  District Court defer acceptance of the plea agreement until after review of the presentence report.

  Accordingly, it is further recommended that Gina Corwin be finally adjudged guilty of the charged

  offense under Title 21 U.S.C. § 846.

         If the plea agreement is rejected and Defendant still persists in the guilty plea, the

  disposition of the case may be less favorable to Defendant than that contemplated by the plea

  agreement. Defendant is ordered to report to the United States Probation Department for the

  preparation of a presentence report. Defendant has the right to allocute before the District Court

  before imposition of sentence.

                                            OBJECTIONS

         Pursuant to 28 U.S.C. § 636(b)(1)(c), each party to this action has the right to file objections

  to this report and recommendation. Objections to this report must: (1) be in writing, (2) specifically

  identify those findings or recommendations to which the party objects, and (3) be served and filed

  within fourteen (14) days after being served with a copy of this report, and (4) be no more than

  eight (8) pages in length. See 28 U.S.C. § 636(b)(1)(c) (2009); FED. R. CIV. P. 72(b)(2); Local Rule

  CV-72(c). A party who objects to this report is entitled to a de novo determination by the United

  States District Judge of those proposed findings and recommendations to which a specific

  objection is timely made. See 28 U.S.C. § 636(b)(1) (2009); FED R. CIV. P. 72(b)(3).

         A party’s failure to file specific, written objections to the proposed findings of fact and

  conclusions of law contained in this report, within fourteen (14) days of being served with a copy

  of this report, bars that party from: (1) entitlement to de novo review by the United States District

  Judge of the findings of fact and conclusions of law, see Rodriguez v. Bowen, 857 F.2d 275, 276–

  77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error, of any such findings

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      of fact and conclusions of law accepted by the United States District Judge, see Douglass v. United

      Servs. Auto. Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc).

              So ORDERED and SIGNED this 7th day of July, 2020.




                                                    ____________________________________
                                                    KIMBERLY C. PRIEST JOHNSON
                                                    UNITED STATES MAGISTRATE JUDGE




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